8:07-cr-00098-RFR-SMB        Doc # 111       Filed: 04/11/11    Page 1 of 1 - Page ID # 399




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               CASE NO. 8:07CR98
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                    ORDER
                                               )
ROLAND K. LONG,                                )
                                               )
              Defendant.                       )

       This matter is before the Court on the Defendant's motion for reduction of sentence

(Filing No. 110).

       The Defendant states that when he was sentenced in 2007 he received two

additional criminal history points for recency under U.S.S.G. § 4A1.1(e), which was

eliminated on November 1, 2010. The motion is denied for two reasons. One, the

elimination of § 4A1.1(e) was not made retroactive. United States v. Ball, 2011 WL

925454, at *2 (3d Cir. 2011). Second, even if the change to the guideline were retroactive,

the elimination of two criminal history points would not have resulted in a lower criminal

history category for the Defendant, who had a total of 32 criminal history points and was

in Criminal History Category VI. A defendant is in category VI with 13 or more criminal

history points.

       IT IS ORDERED:

       1.     The Defendant's motion for reduction of sentence (Filing No. 110) is denied;

              and

       2.     The Clerk is directed to mail a copy of this order to the Defendant at his last

              known address.

       DATED this 11th day of April, 2011.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge
